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                     Nos. 24-50627, 24-40533, 24-10855
                     (Argument held February 5, 2025)

              UNITED STATES COURT OF APPEALS
                  FOR THE FIFTH CIRCUIT


Space Exploration Technologies Corp.,

Plaintiff-Appellee

v.

National Labor Relations Board; Jennifer Abruzzo, in her official
capacity as the General Counsel of the National Labor Relations Board;
Marvin Kaplan, in his official capacity as the Chairman of the National
Labor Relations Board; Marvin E. Kaplan, in his official capacity as
Board Member of the National Labor Relations Board; Gwynne A.
Wilcox, in her official capacity as Board Member of the National Labor
Relations Board; David M. Prouty, in his official capacity as Board
Member of the National Labor Relations Board; John Doe,
Administrative Law Judge NLRB,

Defendants-Appellants

consolidated with

Energy Transfer L.P. and its subsidiary and employing entity La
Grange Acquisition, L.P.,

Plaintiff-Appellee

v.

National Labor Relations Board; Jennifer Abruzzo, in her official
capacity as the General Counsel of the National Labor Relations Board;
Marvin Kaplan, in his official capacity as the Chairman of the National

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Labor Relations Board; Marvin E. Kaplan, in their official capacities as
Board Members of the National Labor Relations Board; Gwynne A.
Wilcox, in their official capacities as Board Members of the National
Labor Relations Board; David M. Prouty, in their official capacities as
Board Members of the National Labor Relations Board; John Doe, in
their official capacity as an Administrative Law Judge of the National
Labor Relations Board,

Defendants-Appellants

consolidated with

Aunt Bertha, doing business as Findhelp,

Plaintiff - Appellee

v.

National Labor Relations Board, a federal administrative agency;
Jennifer Abruzzo, in her official capacity as the General Counsel of the
National Labor Relations Board; Marvin Kaplan, in his official capacity
as the General Counsel of the National Labor Relations Board; Marvin
E. Kaplan; Gwynne A. Wilcox; David M. Prouty, in their official
capacities as Board Members of the National Labor Relations Board;
John Doe, in their official capacity as an Administrative Law Judge of
the National Labor Relations Board,

Defendants - Appellants


     UNOPPOSED MOTION TO WITHDRAW APPEARANCE

     On October 18, 2024, I entered an appearance on behalf of the

Defendants-Appellants, National Labor Relations Board et al (NLRB). I

now wish to withdraw my appearance because I am leaving the NLRB.


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The NLRB will continue to be represented in this case by the attorneys

who have noticed their appearances on the docket. This motion is

pursuant to Fifth Circuit Rule 27.1.10 and Federal Rule of Appellate

Procedure 27.



     Dated: April 16, 2025                   Respectfully submitted,

                                             /s/ Christine Flack
                                             Christine Flack
                                             Supervisory Attorney
                                             (No official bar number in
                                             Maryland)
                                             Tel: (202) 273-2842
                                             Fax: (202) 273-4244
                                             christine.flack@nlrb.gov


                       CERTIFICATE OF SERVICE

     I certify that on April 16, 2025, I filed the foregoing document with

this Court using the CM/ECF filing system, and a copy is being served

on the ECF Filers electronically by the Notice of Docket activity.

                                             /s/ Christine Flack
                                             Christine Flack
                                             Supervisory Attorney
                                             (No official bar number in
                                             Maryland)
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                 CERTIFICATE OF COMPLIANCE

     I certify that the foregoing Motion complies with Federal Rule of

Appellate Procedure 27(d)(2)(A) because it contains 70 words. It further

complies with the typeface and type-style requirements of Federal Rule

of Appellate Procedure 32(a)(5)-(6) and Fifth Circuit Rules 27 and 32

because it was prepared using Microsoft® Word for Microsoft 365 MSO,

in 14-point Century Schoolbook font.




                                            /s/ Christine Flack
                                            Christine Flack
                                            Supervisory Attorney
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